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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     COMMODITY FUTURES TRADING                       Case No. 3:22-cv-05416-WHO
                                         COMMISSION,
                                   8                   Plaintiff,                        ORDER GRANTING PLAINTIFF'S
                                   9                                                     MOTION FOR ALTERNATIVE
                                                 v.                                      SERVICE
                                  10
                                         OOKI DAO,                                       Re: Dkt. Nos. 11, 13
                                  11                   Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          This Court, having read and considered Plaintiff Commodity Futures Trading

                                  14   Commission’s (“the Commission”) Motion for Alternative Service Against Defendant Ooki DAO

                                  15   [Dkt. No. 11], the Commission’s Administrative Motion to Supplement Motion for Alternative

                                  16   Service Against Defendant Ooki DAO [Dkt. No. 13], and the evidence and papers with respect

                                  17   thereto, and good cause appearing therefore:

                                  18          The Motions are GRANTED and the Court orders that service of process on the Ooki

                                  19   DAO may be made in this action by providing a copy of the summons and complaint through the

                                  20   Ooki DAO’s Help Chat Box, with contemporaneous notice by posting in the Ooki DAO’s Online

                                  21   Forum. Because the Commission provided the documents in this manner on September 22, 2022,

                                  22   the Court holds that the Commission effectively served the Ooki DAO on that date.

                                  23          IT IS SO ORDERED.

                                  24          Dated: October 3, 2022

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                                                                                                 William H. Orrick
                                  27                                                             United States District Judge
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